                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE

        IN RE:
        JOSHUA ADAM HUTCHISON                                     CASE NO. 16-05686
        7443 CHOWNING ROAD                                        CHAPTER 13
        SPRINGFIELD, TN 37172                                     JUDGE WALKER
        SSN xxx-xx-0577
                      Debtor(s).

              APPLICATION FOR AN AMENDED PAYROLL DEDUCTION ORDER

        COMES the Debtor, by and through counsel, and hereby makes application for an amended

Payroll Deduction Order be issued to:

        UPS
        Attn: Payroll
        636 E. Sandy Lake Road
        Coppell, TX 75019
        $2,215.00 per month

        **Pay frequency changed from weekly to monthly

Respectfully submitted,


/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339
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wilsonlgl@hotmail.com

                                     CERTIFICATE OF SERVICE
         I certify that on this 26th day of December, 2018, I mailed/e-mailed a copy of the foregoing to the
Office of the Chapter 13 Trustee, PO Box 340019, Nashville, TN 37203; to the Office of the U.S. Trustee,
Customs House, Suite 318, 701 Broadway, Nashville, TN 37203-3966; to the Debtor at the above-referenced
address.


/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339




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